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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

ST. LUKE'S HEALTH SYSTEM, LTD.,                 Case No. 1:25-cv-00015-DKG

                   Plaintiff,                   SUPPLEMENTAL
                                                DECLARATION OF STACY
        v.                                      T. SEYB, M.D.

 RAUL LABRADOR, Attorney General of the
 State ofldaho,

                   Defendant.



    SUPPLEMENTAL DECLARATION OF STACY T. SEYB, M.D., IN SUPPORT OF
   ST. LUKE'S HEALTH SYSTEM'S MOTION FOR A PRELIMINARY INJUNCTION
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        I, Stacy T. Seyb, M .D., being first duly sworn under oath, state and depose upon

personal knowledge as follows:

        1.      I am a board-certified Obstetrician-Gynecologist (Ob-Gyn) physician at St.

Luke's Regional Medical Center in Boise, Idaho. In that capacity, I specialize in Maternal-Fetal

Medicine. I submit this declaration in support of the Motion for Preliminary Injunction filed by

St. Luke's Health System in the above-captioned matter. Unless otherwise stated, the facts set

forth herein are true of my own personal knowledge, and if called as a witness to testify in this

matter, I could and would testify competently thereto.

        2.      I graduated from the University of Kansas and subsequently completed my

residency in Obstetrics and Gynecology at the University of Colorado and fellowship in

Maternal Fetal Medicine at Northwestern University Feinberg School of Medicine. I practiced

as a general Ob-Gyn and served as teaching faculty before completing my fellowship

specializing in high risk and abnormal pregnancy management.

        3.      I have practiced as a Maternal Fetal Medicine provider in Idaho for 24 years,

working not only on the front lines treating complicated pregnancies but also as a consultant to

general Ob-Gyn providers and Family Medicine providers providing obstetric care, primarily in

Southwest Idaho as well as across the state. I worked over a decade with the Idaho March of

Dimes improving programming support and updating providers on evolving practices to

improve the health of women and children in our state. Currently I serve as a state liaison to

Idaho for the Society for Maternal Fetal Medicine.



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        4.      Over the course of my nearly 37-year career as a practicing Ob-Gyn, I have

treated thousands of pregnant women, delivered thousands of healthy babies, and managed a

variety of life-threatening conditions in pregnancy.

        5.      I have reviewed the declarations submitted by Doctors Kylie Cooper, Lee

Fleisher, and Emily Corrigan in United States v. Idaho and I agree with those doctors'

assessments of the risks posed to pregnant patients by such conditions as pre-eclampsia,

premature rupture of the membranes (PPROM), and placental abruption. Fundamentally, each

of these conditions- and many more pregnancy complications- poses serious risks to pregnant

patients, and termination is very often the only treatment available to address these risks and

stabilize the patient. In some cases, these conditions can and do cause death. But sometimes, a

physician may conclude that although there is not a high probability of the pregnant patient's

death, the patient may experience impairment or severe dysfunction of bodily organs, including

losing her reproductive capability, absent termination of her pregnancy. And often, it will simply

not be possible for a physician to determine whether termination is necessary to prevent death,

as opposed to some severe harm to the patient short of death.

                                 Effect ofldaho Code § 18-622

         6.     In United States v. Idaho, I submitted a declaration predicting that Idaho Code

§ 18-622, if it went into effect without any limiting injunction allowing emergency room

providers to comply with EMTALA, would force physicians to delay treatment or otherwise act

contrary to the generally accepted standard of care for fear of incurring criminal liability or loss



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of Iicensure. To my great dismay, when § 18-622 temporarily went into effect, my prediction

came to pass.

        7.      In 2023, before the injunction was stayed, St. Luke's had to airlift just a single

pregnant patient presenting with a medical emergency out of state for care.

        8.      While§ 18-622 was briefly in effect without a limiting injunction, six individual

St. Luke's patients had to be airlifted out of state because in Idaho, we were unable to provide

the full range of stabilizing care necessary to preserve the patient's health. I either treated these

patients or have personally reviewed the details of their case in St. Luke's medical records.

         9.      One patient, who was 20 weeks pregnant, experienced PPROM. She presented

with leaking fluid and an elevated white blood cell count and appeared to be suffering from a

progressing infection. Antibiotics would not stop the progression of the infection toward sepsis.

If the infection continued to progress, this patient could have suffered infertility and organ

damage. The treating physician was unable to say that termination was necessary to prevent

death but determined that, without termination, the patient' s kidneys could stop functioning.

This patient chose to be airlifted out of state to ensure she could receive the medically necessary

care, including possible termination of her pregnancy.

         l 0.    A second patient presented with pre-eclampsia at 23 weeks. She presented with

hypertension and was at risk of a stroke, possible heart failure, and kidney failure. It was very

likely that she would require a cesarean section, which at her stage of pregnancy would lead to

a scarred uterus, which would in tum affect future pregnancies. The fetus almost certainly would

not be viable. This patient's pre-eclampsia was not necessarily life-threatening but had the

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potential to become so; she therefore needed to be in a facility that could offer the full spectrum

of care that she might need, including termination of her pregnancy, and so chose to be airlifted

out of state.

         11.    A third patient, after expenencmg PPROM at 20 weeks, presented with

abdominal pain and cramping. She did not yet have an elevated white blood cell count, which

would be indicative of infection, but her membranes were coming into her vagina. The fetus's

heartbeat was detectable, but it was likely not viable. The treating physicians could not say, in

their medical judgment, that termination was necessary to prevent her death, only that it was

possible that her condition would advance to that point. Waiting until this patient's condition

was life-threatening to terminate her pregnancy could have resulted in intrauterine infection and

sepsis, which could in tum make it so that she could not have any future children. She chose to

be airlifted out of state so that she could receive the full range of stabilizing care, including

termination of her pregnancy.

         12.    A fourth patient, also diagnosed with PPROM, presented with vaginal bleeding

and severe cramping at 18 weeks. The following week, fetal parts were visible in her cervix.

The fetus had a normal heartrate but was almost certainly not going to be viable. With advanced

cervical dilation and ruptured membranes, this patient's infection risk was growing. Physicians

could not say that termination was necessary to prevent the patient's death, but it may have been

necessary to prevent a host of severe health consequences. She was airlifted to a facility out of

state that could offer the full range of stabilizing care, including termination of her pregnancy.



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        13.     A fifth patient similarly experienced PPROM at 19 weeks. She presented with

a bulging feeling in her vagina; an ultrasound showed the amniotic sac bulging into her vaginal

canal. Her providers attempted a cerclage placement, which was unsuccessful. Her PPROM

developed into an increased risk of subclinical intraamniotic infection. The fetus partly entered

her vagina and was not viable, though it did have a detectable heartbeat. Physicians could not

say that termination was necessary to prevent the patient' s death, but it may have been necessary

to prevent a host of severe health consequences. She, too, was airlifted out of state so that she

could receive care physicians at St. Luke's could not provide.

        14.     A sixth patient, 22 weeks pregnant with twins, presented with vaginal bleeding.

She had had rescue cerclage the previous week and wished to avoid intervention until at least

24 weeks. She was diagnosed with PPROM. After her bleeding increased, her treating

physicians became concerned about placental abruption and the risk of infection, so she, like

the other patients, was transferred to another state for further care. Termination was not

necessary to prevent her death, and indeed she ultimately delivered the twins.

         15.    In these instances, each patient was experiencing an emergency medical

condition that placed her health in serious jeopardy, risked serious impairment to her bodily

functions, or risked serious dysfunction to bodily organs or parts. The treating physician-either

one of my colleagues or I-would have offered and/or recommended termination as a treatment

option, consistent with the standard of care, but believed that we could not do so consistent with

§ 18-622.



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        16.      In each instance, the treating physician was deeply concerned that waiting to

offer termination as an option until it would be necessary to prevent death was dangerous and

medically unsound. The conditions these patients faced could cause serious additional health

complications if untreated, including systemic bleeding, liver hemorrhage and failure, kidney

failure stroke, seizure, and pulmonary edema, among other things.

         17.     Arranging an airlift to transfer a patient out of state is not without risk or cost.

It takes time. During that time, the patient's condition could deteriorate to the point of no longer

being stable for transport. Once a patient is no longer stable enough for transport, the risks of

transfer may outweigh the benefits, placing the treating physician once again in the position of

deciding whether to wait until termination is necessary to prevent death, even though the wait

could pose severe health consequences, including damage to the patient's future reproductive

health. During the relevant period of time, my colleagues and I lived in constant fear that patients

would present in an emergency room who were not stable enough to transfer, yet the medically

indicated stabilizing care-termination-could not be provided because it was not yet needed to

prevent the patient's death.

                Idaho Code§ 18-622 Still Prohibits Necessary Emergency Care

         18.     No changes to Idaho or federal law since 2022 have changed the fact that it is

impossible to discern the point at which Idaho law allows the provision of stabilizing pregnancy

terminations.

         19.     From the perspective of physicians, the Idaho Supreme Court's interpretation

of the state law in Planned Parenthood Great Northwest v. State did not meaningfully clarify

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doctors' obligations. I understand that even if physicians make a good faith medical judgment

about the necessity of care, there is no way for those of us making treatment decisions to know

at what point a patient's symptoms push them into the category of necessitating care to not just

stabilize their health but prevent their death under Idaho law. Doctors can reasonably disagree

with each other about cases, and certainly may disagree with a prosecutor who lacks medical

training.

            20.   The Idaho legislature's changes to§ 18-622 do not provide physicians like me

any meaningful comfort. As described above, treatment providers are faced with an enormous

amount of uncertainty regarding what treatment to provide pregnant patients facing serious

medical emergencies and when. And our medical judgments can be tested in court according to

"objective" evidence in the form other others' medical opinions. Given those uncertainties,

providers will be deterred from stabilizing patients with emergent conditions, as our lived

experience in early 2024 shows.

            21.     I also understand that the United States took several positions regarding what kind

of stabilizing care EMTALA requires in arguments before the Supreme Court. Those positions

are consistent with my longstanding experience and my understanding of the relevant standards

of care. As the United States confirmed in front of the Supreme Court, mental health conditions,

non-acute conditions, and pregnancy complications after viability do not call for abortion as

stabilizing care.

            22.     Neither I nor my colleagues are aware of a single case in which a patient received

termination of her pregnancy as stabilizing care for a mental health emergency. 1n my experience

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and medical judgment, pregnancy tennination is not a treatment for mental health emergencies

according to the generally accepted standard of care. Mental health emergencies are treated as

mental health conditions; when a pregnant patient comes to the emergency room with, for

instance, symptoms of psychosis, our protocol is to treat the psychosis.

        23.     Neither I nor my colleagues are aware of any case of emergency abortion

occurring after viability. The standard of care for a patient presenting after viability with a

condition like those described above would be to deliver the baby.

        24.     Maintaining the ability throughout the state of Idaho to provide the full range of

stabilizing care for pregnant patients who present to emergency rooms is important. Without this

option, or if it was limited to only some of the hospitals that presently provide that care, pregnant

patients would be forced to travel long distances to get emergency care, which could be

detrimental to their health and well-being. The hospitals that could provide stabilizing treatment

would experience increased patient care needs and increased staffing needs in their emergency

rooms, which may affect patient care at those hospitals.




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I declare under penalty of perjury under the laws of the State of Idaho that the foregoing is to

the best of my knowledge true and correct. Executed this 11th day of January 2024, in Boise,

Idaho.




Date




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